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THE LEVEE

The levee and floodwall structure protecting the Lower Ninth Ward, extends along the
eastern shore of the southern section of the IHNC and is part of the 320 miles of levees
protecting the City of New Orleans and surrounding parishes. The IHNC levee and
floodwall extends from the Florida Ave. Bridge in the north to the N. Claiborne Ave.
Bridge and the lock system to the south. It runs parallel to Jourdan Ave. in the Lower
Ninth Ward.




Figure 20: An intact portion of the levee and floodwall along the IHNC, post Hurricane
Rita. Note the scour trench and the original height of the earthen berm on the floodwall.

The levee system along the IHNC consisted of an earth embankment with a crest
elevation of approximately 7.5 feet according to the North American Vertical Datum of
1988 (NAVD88 2004.65). The embankment has side slopes of 2.4:1 and 2.8:1 on the
land and water side, respectively. The elevation of the land side heel is approximately -
3.5 feet and the mean water elevation in the IHNC is 2.5 feet. Elevations were




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determined by means of surveys and photogrammetry performed after Hurricane
Katrina. LIDAR data show a decreasing levee toe elevation toward Florida Ave.13

Additional flood protection was provided by means of a floodwall sunk into and rising
above the earth embankment. This wall was of the “I” type. The reinforced concrete
floodwall was supported by a steel sheetpile driven to a depth of -9.76 feet, or over 15
feet deep into the earthen levee. The top of the sheetpile is embedded 4’-2” into the
concrete wall, which has an overall height of 8 feet and is 2’-0” thick at the base. The
concrete panels of the floodwall top were reinforced by ½” and ¾” diameter vertical
rebar spaced on 9 inch centers and a series of ½” diameter bars oriented longitudinally
within the wall. The sheetpile itself was a hot rolled steel PZ-27 section, with each
panel measuring 18” long by 12” wide, with the web and flanges being 3/8” thick14. A
diagram of the floodwall system cross section can be seen in Figure 21.




Figure 21: Cross section of IHNC levee and floodwall.

The design elevation for the floodwall in 1969 was 15.0 feet above MSL as shown on
the construction plans. MSL was taken as NGVD 29, even though in 1969 MSL was not
the same as NGVD29. Furthermore, LMSL (local mean sea level) was not the same as
MSL. By 2005 LMSL had changed; subsidence had lowered the benchmarks and the
levee. No one knew how much lower the levees were below their intended or
constructed heights. Surveys taken by WST show the uneven and significant


13
     IPET Report Figure 11-14.
14
     USACE Drawing H-4-25157.




                                          30
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subsidence along the floodwall.15 An even greater degree of subsidence was noted in
the IPET Report with a wall top height as low as 11.1 ft.16

For a variety of reasons, the top of the IHNC floodwall was considerably below the
design elevation. It has been traditional to measure flood water levels against known
landside bench marks. Geodetic datums are used to define the height of land on the
earth, as well as many other characteristics of the earth. There are many different
datums used by different agencies for different purposes. Datums are revised
periodically making earlier datums obsolete. Using incorrect datums can lead to serious
errors with fatal consequences. Such incorrect usage played a role in the flooding of
New Orleans.

Two datums are most important in the case of Hurricane Katrina and New Orleans,
namely “mean sea level” and “NAVD 88.” Mean Sea Level refers to the arithmetic
mean of hourly observations over the National Tidal Datum Epoch, a 19 year period that
covers all variations in the path of the moon about the sun17. NAVD88 is the North
American Vertical Datum of 1988. It replaced the National Geodetic Vertical Datum of
1929 (NGVD 29). The NGVD 29 was synonymous with Mean Sea Level Datum of
1929, and did not take into consideration changes in sea level over time. Therefore
NGVD and mean sea level are not the same. Nevertheless, the USACE used NGVD29
(with adjustments) for the design and construction of its New Orleans flood control
projects. While there may have been convergence between MSL and NGVD in 1929,
they were measurably different in 2005. MSL is about one foot higher than NGVD in the
IHNC18 Furthermore there was confusion in the terms local mean sea level (LMSL) and
mean sea level (MSL). LMSL should have been used rather than MSL. The difference
in the IHNC between LMSL and MSL was not known, even in March 2006, but was
estimated to be about ¼ foot.19

Thus, the benchmark which was used to determine the floodwall top elevation, namely
Benchmark M 152, had an elevation in 1951 of 22.090 NGVD29. In 1969 it was 21.811
NGVD29 which was taken as being MSL. By 1991 it was 20.96 NGVD29. When
measured by GPS in November 2005 it was 20.34 NAVD88 (2004.65). (Also, the LMSL
could be as much as 0.1 to 0.3 feet lower than from NAVD88).

The ASCE report points out that incorrect assumptions were made about the datums
used for the design, construction and maintenance of the height of floodwalls, resulting



15
   Water Flow and Wind Conditions Affecting Movement of ING 4727 Barge in the IHNC During Hurricane
Katrina on August 29, 2005 by Waterway Simulation Technology, 2009 (Appendix B).
16
   (IPET Report IV-9-8).
17
   http://seacoos.org/Data%20Access%20and%20Mapping/water_level_product_desc/.
18
   IPET – page III 18/19.
19
   IPET – page III – 17.




                                                   31
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in floodwalls built lower than their design height.20 Similarly, the Team Louisiana Report
notes the errors in the design height and states the wall was built “almost 2 feet low.”21

C. R. Cushing & Co. engaged the services of Aero-Data Corp. to carry out a
photogrammetric survey of the height of the levee. The IHNC structures in some
locations were more than 2 feet below their intended elevations, largely from
subsidence over the 35-year life of the project.22 ASCE reported that “along the
Industrial Canal (built more than 35 years ago) …, the impact of subsidence plus
incorrect use of datum has resulted in the levees and floodwall being up to 3 feet lower
than the original design.”23




Figure 22: IHNC floodwall crest elevations produced for WST report.




20
   ASCE Report – page 66/67.
21
   Team Louisiana Report pages 126, 213.
22
   ASCE Report page 22.
23
   ASCE Report page 67 (emphasis added).




                                           32
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HURRICANES - GENERAL

Hurricanes are tropical cyclones with winds exceeding 64 knots (74 mi/hr). In the
Northern Hemisphere, these winds circulate in a counter-clockwise direction around
their centers. In the North Atlantic, tropical cyclones usually offer the greatest threat
from June through November; August, September, and October are the months of
highest incidence.

These storms usually move westward or west northwestward at speeds of less than 15
knots in the lower latitudes. Once they move into the northern Caribbean or Greater
Antilles region, they usually either travel toward the Gulf of Mexico or recurve and
accelerate into the North Atlantic. Some will recurve after reaching the Gulf of Mexico,
while others will continue westward to landfall.24

A tropical cyclone is a meteorological term for a storm system originating in the tropics
or subtropics. It is characterized by a low pressure system center and thunderstorms
that produce strong wind and flooding rain. In successive stages of intensification, the
tropical cyclone may be classified as a tropical disturbance, tropical depression, tropical
storm, and hurricane or typhoon.

A tropical disturbance is a distinct system of apparently organized convection which
ranges from 100 to 300 miles in diameter. It has a non-frontal migratory character and
maintains its identity for 24 hours or more. It has no strong winds and no closed isobaric
pressure pattern.

A tropical depression has one or more closed isobars and some rotary circulation at the
surface. The highest sustained (1-minute mean) surface wind is 33 knots. A tropical
storm has closed isobars, a distinct rotary circulation, and a sustained surface wind
between 34-63 knots. Winds near the center increase to gale force, central pressure
falls below 990 millibars, and towering cumulonimbus clouds shield a developing eye.

It becomes a hurricane when it has closed isobars, a strong and very pronounced rotary
circulation, and a sustained surface wind speed of 64 knots or higher.25

Each system begins as a thunderstorm or group of thunderstorms which can grow to
hurricane strength with cooperation from both the ocean and the atmosphere. The
ocean water must be warmer than 26.5° C (81° F). High relative humidities in the lower
and middle troposphere are also required for hurricane development.

The source of energy for hurricanes is the heat and moisture from the warm water.
The tropical cyclone feeds on the heat released when moist air rises and the water

24
  Van Heerden, Ivor and Bryan, Mike. The Storm. Viking, Penguin Group, New York. 2006.
25
  Bowditch, Nathaniel. American Practical Navigator, Vol. 1. Defense Mapping Agency Hydrographic Center.
1977 ed.




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vapor it contains condenses. As the warm air rises, it cools. As the air cools it can
hold less water vapor which therefore condenses into droplets of water. These droplets
then fall as rain. The condensation releases latent energy in the form of heat, which
reinforces the dynamics of the storm.

Condensation leads to higher wind speeds, as a tiny fraction of the released energy is
converted into mechanical energy. The faster winds and lower pressure bring about
increased surface evaporation and even more condensation. Some of the released
energy drives updrafts which increases the height of the storm clouds and speeds-up
condensation.

The high altitude winds pump ascending air out of the cyclonic system into a high-
altitude anti-cyclone, which transports the air away from the disturbance. As a
consequence, a large scale vertical circulation is set up in which low level air is spiraled
up the cyclonic twisting of the disturbance, and after a trajectory over the sea, returned
to lower altitudes some distance from the storm. "This pumping action, and the heat
released by the ascending air, may account for the sudden drop of atmospheric
pressure at the surface, which produced the steep pressure gradient along which winds
reach hurricane proportions."26

This provides the system with enough energy to be self-sustaining and causes a
positive feedback loop that continues as long as the tropical cyclone can draw energy
from its thermal reservoir, the warm water at the surface of the ocean. A lack of
equilibrium in air mass distribution also gives supporting energy to the cyclone. The
rotation of the earth causes the system to curve (the Coriolis effect), giving it a cyclonic
characteristic and affecting the trajectory of the storm.

Many tropical cyclones develop when atmospheric conditions around a weak
disturbance in the atmosphere are favorable. Tropical systems are moved by steering
winds in the troposphere. If conditions remain favorable, the tropical disturbance
intensifies, and can develop an eye which is unique to hurricanes.

The eye is an area of relative calm (and lowest atmospheric pressure) at the center of
circulation. The eye is normally circular in shape, and may range in size from 2-230
miles in diameter. Surrounding the eye is the eye wall, an area 10-59 miles wide in
which the strongest thunderstorms and winds circulate around the storm'        s center.
Large bands of clouds and precipitation spiral from the eye wall and are called spiral
rain bands -- also unique to hurricanes. The direction of the winds in the bands around
the eye wall is directly related to the location of the center of the storm.

Rainbands are bands of showers and thunderstorms that spiral cyclonically toward the
storm center. High wind gusts and heavy downpours often occur in individual
rainbands, with relatively calm weather between bands.
26
     Ibid.




                                            34
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These spiral bands ascend in decks of cumulus and cumulonimbus clouds to the
convective limit of cloud formation, where condensing water vapor is dispersed to form
cirrus clouds.

As the storm approaches, the wind increases in gustiness, and its speed becomes
greater, reaching 22-40 knots.27 A dark wall of heavy cumulonimbus, known as the bar
of the storm, will appear on the horizon. Portions of this heavy cloud will detach from
time to time and drift across the sky, accompanied by rainsqualls and winds of
increasing speed. With the arrival of the bar, the day becomes very dark, squalls are
continuous, and the barometer drops precipitously along with a rapid increase in wind
speed. The center of the storm may still be over 100 miles away. As the center
approaches, rain falls in torrents, seas become mountainous, and the wind fury
increases. In the Northern Hemisphere, if the center of the approaching storm is to the
south and headed northward, these winds on the north side would blow in a nearly east-
to-west direction, characteristic of the counter-clockwise circulation around the center.

The size of a tropical cyclone is determined by measuring the distance from its center of
circulation to its outermost closed isobar. Tropical cyclones are considered large when
the closed isobar radius is 6-8 degrees of latitude (360 to 480 nautical miles). A very
large tropical cyclone will have a radius of greater than 8°.

From the water, the presence of an exceptionally long swell is usually the first visible
indication of the existence of a tropical cyclone. In deep water it approaches from the
general direction of origin. However, in shoaling water this is a less reliable indication
because the direction is changed by refraction.

From any given point in a tropical cyclone, winds may be the best guide to the direction
toward the center of a tropical cyclone. Buys Ballot'   s law states that when an observer
stands with his back to a geostrophic wind in the Northern Hemisphere, the center of
low pressure will be to the left and the high pressure to the right. If the wind followed
circular isobars exactly, the center would be exactly 8 points (90°) on the right from
dead ahead when facing the wind. However, the track of the wind is usually inclined
somewhat toward the center, so the angle from dead ahead varies between 8-12 points
(90° - 135°). The inclination varies in different parts of the same storm: least in the front
and greatest in the rear. Closer to the center, the wind blows more nearly along the
isobars, the inclination being reduced by one or two points at the wall of the eye. In lay
terms, this means that the direction of the wind in a tropical cyclone is directly related to
the location of the center of the storm. This is why, as noted above, if it is known that
the center of the storm is to the south, then the wind blows in a nearly east-to-west
direction. If the wind is blowing east-to-west, then the center of the storm must be to the
south.

27
     Beaufort 6-8.




                                             35
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In open spaces, winds at any given time tend to blow in one direction, with very little
variability in direction. This can also be viewed as a consequence of Buys Ballot’s law.
As this law explains, the low pressure center (i.e. the eye of the hurricane) is always to
the left if one’s back is to the wind. Because the eye of the hurricane does not move
around erratically, it follows that the direction of the wind would not be erratic either.
Thus, provided there are no obstructions, the prevailing winds during a hurricane flow in
a uniform direction and are not erratic.

When winds encounter obstructions such as buildings, the winds flow over and around
them and then rejoin the prevailing wind stream. The directional variations of wind in
open space such as in the middle of the IHNC are slight. Eddy effects from buildings,
silos and other obstructions diminish rapidly in the shadow of the structure and will have
little to no effect in a short distance downstream.

The wind flow in an open area such as in the IHNC would be uniform in direction and
would not be erratic, confused or vary in direction.




Figure 23: Flow around an obstruction such as a building. A free stream exists a short
distance upstream and downstream, and more turbulent flow surrounds the obstruction.
Turbulent flow does not affect the prevailing wind direction.

Tropical cyclones can produce extremely powerful winds and torrential rain. They are
also able to produce high waves and damaging storm surge. They develop over large



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bodies of warm water and lose their strength as they move over land. Hurricanes
rapidly weaken when they travel over land or colder ocean waters; both lacking
sufficient heat and/or moisture.

           Table 1: Saffir-Simpson Hurricane Damage-Potential Scale

 Scale      Central  Wind  Storm                         Observed
Number     Pressure Speeds Surge                         Damage

Category      mb       mi/hr     feet
            inches     knots    meters
            >=980      74-95     4-5     some damage to trees, shrubbery, and
    1
           >=28.94     64-82     ~1.5    unanchored mobile homes
           965-979               6-8
                      96-110             major damage to mobile homes; damage
    2       28.50-              ~2.0-
                      83-95              buildings'roofs, and blow trees down
            28.91                2.5
           945-964              9-12
                      111-130            destroy mobile homes; blow down large
    3       27.91-              ~2.5-
                       96-113            trees; damage small buildings
            28.47                4.0
           920-944              13-18 completely destroy mobile homes; lower
                      131-155
    4       27.17-              ~4.0- floors of structures near shore are
                      114-135
            27.88                5.5  susceptible to flooding
                                       extensive damage to homes and industrial
                                       buildings; blow away small buildings; lower
            <"920"    >"155"    >"18"
    5                                  floors of structures within 500 meters of shore
           <"27.17"   >"135"    >"5.5"
                                       and less than 4.5 m (15 ft) above sea level
                                       are damaged




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HURRICANE KATRINA

On 23 August 2005, a tropical depression (designated Tropical Depression Twelve)
developed by 1800 hrs UTC over the southeastern Bahamas about 175 nautical miles
southeast of Nassau.




Figure 24: The track of Hurricane Katrina.28

By 25 August, the tropical depression had strengthened into Tropical Storm Katrina.
The storm moved slowly along a northwesterly then westerly track through the
Bahamas, gaining strength.

Meanwhile, over the northern Gulf of Mexico and southern United States, the middle to
upper tropospheric ridge was strengthening. This ridge turned Katrina westward on 25
August toward southern Florida. On the afternoon of the 25th, an eruption of deep
convection over the system'  s low-level center in the northwestern Bahamas enabled
Katrina to become the fifth hurricane of the 2005 season. Two hours later (2230 UTC),
Hurricane Katrina made landfall between Hallandale Beach and Aventura, Florida as a
Category 1 hurricane on the Saffir-Simpson Hurricane scale. Katrina hit the peninsula
with 80 mile per hour winds, and a well defined eye.
28
     ASCE publication The New Orleans Hurricane Protection System: What Went Wrong and Why.




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The eye became better defined as Katrina moved inland, remaining intact during its
entire track across the peninsula. Katrina continued west-southwestward overnight,
spending around six hours over the water-laden Everglades. Katrina then weakened to
a tropical storm with maximum sustained winds of 60 knots (69 mph). The center
emerged in the southeastern Gulf of Mexico around 0500 UTC on 26 August north of
Cape Sable.

Back over the water, Katrina gained strength and again became a hurricane at 0600
UTC on 26 August with maximum sustained winds of 65 knots (75 mph). It underwent
two periods of intensification on 26 and 28 August.

The first period of intensification exhibited an increase in maximum sustained winds
from 65 knots to 95 knots in the 24 hour period ending 0100 (1:00 AM) CDT 27 August.
The eye was evident on infrared satellite imagery early on 27 August. By 0100 (1:00
AM) CDT, Katrina was a Category 3 hurricane with 100 knot (115 mph) winds. The
storm was 365 nautical miles southeast of the Mississippi River.

Katrina’s track, when it was first over the Gulf, was west-southwestward. On 27 August
its track took on a general westward direction and then the storm took a turn toward the
northwest on 28 August.

The second period of intensification reached 145 knots (166 mph) at 1300 (1:00 PM)
CDT 28 August about 170 n miles southeast of the mouth of the Mississippi River.
Katrina was upgraded to a Category 4 hurricane with maximum sustained winds of 126
knots (145 mph).29 Katrina quickly became a Category 5 storm, just twelve hours after
the beginning of the second round of rapid intensification, reaching peak intensity at
7:00 AM CDT 28 August with maximum sustained winds of 152 knots (175 mph), gusts
of 187 knots (215 mph) and a center pressure of 902 mbar. The storm was about 170
nautical miles southeast of the mouth of the Mississippi River.

Katrina turned northward, toward the northern Gulf coast early on 29 August. The storm
weakened rapidly prior to landfall. At 0610 (6:10 AM) CDT on 29 August, the hurricane
made landfall as a Category 3 storm, with estimated maximum sustained winds of 110
knots (127 mph), near Buras, Louisiana. Katrina continued northward making final
landfall near the mouth of the Pearl River at the Louisiana/'   Mississippi border, as a
Category 3 hurricane with an estimated intensity of 105 knots (121 mph).

The extraordinary amount of rainfall in the New Orleans area during Katrina added to
the flooding of the low lying areas. Based on radar rainfall data during a 24 hour period
of Katrina, 13.6 inches of rain fell beating the estimated 100 year prediction of 12.58
inches. 30
29
     Note: 1 knot = 1.15 mph.
30
     U.S. Weather Bureau Technical Paper 40 (1961).




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The National Hurricane Center reported rainfall of approximately 8 to 10 inches, with
11.63 inches in Slidell.31

Hurricane Katrina’s track is provided in Dr. Dooley’s report as follows:




Figure 25: The track of Hurricane Katrina over the New Orleans area.32

Dr. Dooley points out that many wind recording and reporting instruments in New
Orleans failed during the passage of Hurricane Katrina. Nevertheless, the National
Hurricane Center was able to identify the track, wind speed and barometric pressure of
Hurricane Katrina as it approached and passed near New Orleans. These are:33




31
   Tropical Cyclone Report – Hurricane Katrina, 20 December 2005.
32
   Hurricane Katrina Weather Analysis, Dooley Sea Weather Analysis, Inc., 2009.
33
   Hurricane Katrina Weather Analysis, Dooley Sea Weather Analysis, Inc., 2009.




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                       Table 2: Position of Hurricane Katrina

   Date           Time        Longitude        Latitude     Pressure      Wind Speed
                  CDT          Degrees         Degrees         MB           Knots
                                                                            (MPH)
  28 Aug.         1300           88.6W          26.3N           902        150 (173)
  29 Aug.         1900           89.2W          27.2N           905        140 (162)
  29 Aug.         0100           89.6W          28.2N           913        125 (144)
  29 Aug.         0200           89.6W          29.5N           923        110 (127)
  29 Aug.         1300           89.6W          31.1N           948         80 (92)
  29 Aug.         1900           89.1W          32.6N           961         50 (58)

Clearly, as Hurricane Katrina passed over New Orleans, it was moving due north. Its
longitude did not change as it moved inland.

By knowing the location of the eye of the hurricane, it is possible to determine the
bearing of the eye from the site of interest on the IHNC, namely the moored position of
the barge and the north and south breaches in the IHNC levee. These are:

               Table 3: Bearing and Distance of Katrina from IHNC

  Date         Time        LAT      LONG         Wind        Distance       Bearing
               CDT                              Speed        N. Miles       Degrees
                                                Knots
                                                (MPH)
 28 Aug.       1300       26.3 N    88.6 W     150 (173)        234           341
 28 Aug.       1900       27.2 N    89.2 W     140 (162)        173           345
 29 Aug.       0100       28.2 N    89.6 W     125 (144)        109           348
 29 Aug.       0400       28.8 N    89.6 W         --            74           343
 29 Aug.       0610       29.3 N    89.6 W     110 (127)         46           332
 29 Aug.       0700       29.5 N    89.6 W     110 (127)         36           322
 29 Aug.       0945       30.2 N    89.6 W     105 (121)         26           238
 29 Aug.       1300       31.1 N    89.6 W      80 (92)          71           198

This means that the center of the storm passed closest to the IHNC between 7:00 AM
CDT and 9:45 AM CDT.

Nearby wind recordings were obtained from the Lake Front Airport and from NASA’s
Michoud Assembly, about 7.5 miles east of IHNC. Lake Front Airport recorded the wind
sustained at 60 knots (69 mph) gusting to 75 knots (86 mph) at 0500 (5:00 AM) CDT.
The Hurricane Research Division of NOAA confirms that the analysis of their data
shows that maximum wind gusts in the IHNC region was 80 to 90 knots (92 to 104
mph).




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Oceanweather, Inc. (OWI) carried out a hindcast of the wind field at the IHNC.34 In the
OWI hindcast analysis, the nearest grid point to the IHNC site is at 30.0°N and 90.0°W.
The 30 minute interval wind directions for this location on 29 August show that wind
direction changed (backed) from 041.14° T at 0600 (6:00 AM) CDT to 273.26°T at 1100
(11:00 AM) CDT as the storm passed east of the city, moving from south to north.
Figure 27 shows wind direction as a function of time at this location. As shown in that
figure, the wind direction blew from a northerly direction (000) at 0800 (8:00 AM) but not
before then.      After 0800 (8:00 AM), it continued backing or moving in a
counterclockwise direction so that it began to blow, for the first time, with a component
from the west. Before 0800 (8:00 AM), the wind had a component that was blowing
only from east to west.

Because the IHNC and the wharf faces are oriented in a N by NNE – S by SSW
direction (016°-196°), it is possible to compare the wind direction at this location with the
orientation of the barge and the canal. During the early morning hours of 29 August, the
wind was blowing from a northeasterly direction – that is, from the northeast toward the
southwest -- thus holding the barge against the dock. Between 0500 (5:00 AM) and
0700 (7:00 AM), the wind was blowing the barge toward the LNA dock.

Between 0745 (7:45 AM) and 0800 (8:00 AM), the wind was blowing parallel to the
wharf face and on the end of the barge, not the side.




34
 Hindcast Data on Wind, Waves and Currents in Northern Gulf of Mexico in Hurricane Katrina and Rita,
Oceanweather Inc., Sep. 2006.




                                                     43
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Figure 26: Wind direction vs. time at the IHNC during Hurricane Katrina on 29 August
2005.




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At 0730 (7:30 AM) the wind achieved its maximum velocity of 62.85 knots or 72.28
miles per hour. With the wind continually backing, if the barge were loose at this time, it
would have been forced southerly and into the “pocket” at the Namasco Wharf. From
this position the wind would have to blow from 0286°T to cause the barge to move
parallel to the face of the Namasco Wharf. The wind would not have come from 286° T
until after 1015. Alternatively if the barge had become loose and blown directly clear of
the corner of the Namasco Wharf (in a 137° direction), this could not have occurred until
after 0920 (9:20 AM).

The below figure illustrates wind direction as a function of time at the LNA dock. It
clearly shows that the wind did not blow the barge ING 4727 in the direction of the IHNC
floodwall at either the north or south breach site at any time before the National
Weather Service announcement of the failure at 0814 (8:14 AM). As discussed further
below, the wind data is a very important element in the conclusion that the barge did not
and could not have caused the levee breaches.




Figure 27: Wind vectors at the Lafarge Terminal on 29 August, 2005.




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Figure 28: Photo taken by the IHNC lock staff at 0747 (7:47 AM) during Hurricane
Katrina showing the prevailing conditions and visibility during the storm. Note that the
direction of the waves and wind, from north-northeast, matches the data reflected in
Figure 27 and that the wind is not blowing in the direction of the IHNC east levee.




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STORM SURGE

The ADCIRC surge model produced by LSU35 showed maximum water elevations in the
IHNC approximately 1 foot higher, at 15.0 feet (using MSL) than those computed by
IPET,36 at 14.0 feet (using NGVD29). LSU computes the water elevation at the south
end of IHNC at 15.5 feet.37 Waterway Simulation Technology reported that neither
model includes water level changes due to wind-generated waves or the cyclonic
effects of wind and local wind-generated waves which would have increased the height
of the water. Wind-generated waves travel in the direction of the prevailing wind.

High water mark (HWM) data was collected by this author, Dr. Larry Daggett, USGS,
LSU, FEMA and USACE. These indicate that the high water marks within the IHNC
were as high as 14.3 feet (NAVD88-2004.65) at the locks and 15.2 feet (NAVD88-
2004.65) at the north side of the Florida Ave. Bridge.38




Figure 29: Hydrographs showing water level v time in the IHNC.


35
   http://hurricane.lsu.edu/flood predictions.
36
   IPET Report, Vol. IV, page IV-112.
37
   Water Flow and Wind Conditions Affecting Movement of ING 4727 Barge in the IHNC During Hurricane
Katrina on August 29, 2005 by Waterway Simulation Technology, 2009 (Appendix B).
38
   IPET 38,




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According to the IPET report, the peak water levels in the IHNC exceeded the floodwall
level by as much as 2 feet.39 These same water levels would have exceeded, by an
even greater degree, portions of the IHNC floodwall that had settled to an even lower
height than IPET reported. Thus, according to Team Louisiana: “Given the variation in
floodwall crown elevations that IPET documented farther north, it is possible that the
floodwall crest elevation at the point where overtopping initiated the south breach into
the Lower Ninth Ward could have been a foot lower than the 12.5 ft found in surviving
adjacent sections.”

Whether one uses the LSU or ASCE storm surge models, or the WST analyses or the
high water marks, it is incontrovertible that the floodwall along the eastern shore of the
IHNC overtopped early on the morning of 29 August 2005. The scour trenches caused
by overtopping were clearly visible when the site was visited in September 2005.

Although the storm surge from Lake Borgne through the MRGO and into the IHNC
acted to raise the level of the water in the IHNC to levels well above the height of the
floodwalls, the storm surge did not create significant currents within the IHNC but rather
largely acted to fill up the IHNC much as water fills a bathtub. Waterway Simulation
Technology modeled the currents that the storm surge would have caused in the IHNC.
Multiple scenarios were considered that included the floodwall both being overtopped
and not being overtopped as well as an intact floodwall and the presence of breaches.
The result of this analysis showed that there were no currents in the vicinity of the
Lafarge Terminal for any scenario analyzed that could have carried barge ING 4727 into
the canal’s main channel and propelled it into the intact floodwall at either the north or
south breach site.40




39
 IPET Report, page V-1
40
  Water Flow and Wind Conditions Affecting Movement of ING 4727 Barge in the IHNC During Hurricane
Katrina on August 29, 2005 by Waterway Simulation Technology, Inc., 2009 (Appendix B).




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Figure 30: Storm surge in Eastern New Orleans, modeled by Louisiana State
University.41




41
     Team Louisiana Report Chapter Two.




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THE LEVEE FAILURE

During Hurricane Katrina, levees and floodwalls failed in numerous locations which led
to flooding in many separate areas of the City of New Orleans. The reasons for failure
discussed in this section focus on the IHNC east levees and floodwalls.

It has long been known what mechanisms can lead to a levee failure. According to the
U.S. Army Corp of Engineers publication on the design of levees, the principal causes
of levee failures are:

     1. Overtopping
     2. Surface Erosion
     3. Internal Erosion
     4. Sliding within the levee embankment or foundation soils.42

At the IHNC, the steel sheetpile “I-wall” (floodwall) failed during Hurricane Katrina. To
understand why the sheetpile failed, it is necessary to understand how a sheetpile
achieves its stability. Sheetpilings call upon passive soil pressure to resist overturning
forces caused by active soil pressure and hydrostatic pressure as well as other dynamic
forces. Passive pressure is the amount of pressure that can be applied to a vertical
face of soil before a shearing failure occurs. Once a shearing failure occurs, a wedge of
soil becomes detached from the surrounding soil and is pushed upwards and away from
the source of the pressure. Active pressure is the pressure that a vertical face of soil
exerts when “leaning” on an object such as a retaining wall.43 As a rule, passive
pressure is greater than active pressure assuming that all factors affecting the two
pressures (such as soil unit weight and cohesion) are equal. The fact that the passive
pressure is greater is what allows a sheetpile to remain standing even though there is
more fill on one side than the other. A third form of pressure, hydrostatic pressure, is
the lateral force that a liquid will exert on a face. Because liquids do not have internal
friction (internal friction is what allows a hill to be made from soil; liquids have no internal
friction therefore a hill can not be made from a liquid) the lateral pressure is equal to the
vertical pressure, which is not the case for active or passive soil pressure.

IHNC North Breach

According to IPET, the North Breach occurred before the South Breach, perhaps as
early as 0430 (4:30 AM) CDT.44         IPET reports that the breach occurred prior to
overtopping as a result of the formation of a tension crack on the floodwall and
diminished soil support at the levee toe.45


42
   USACE Engineering Manual EM 1110-2-1913 titled The Design of Levees, Page 1-3 dated 30 April 2000.
43
   Principles of Geotechnical Engineering, Chapter 12, pages 364 - 378.
44
   IPET Report, pages IV-194, IV-195.
45
   IPET Report, page V-11-17.




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The phenomenon of “gapping” involves the floodwall deflecting a small distance in the
landward direction due to hydrostatic pressure, which causes a narrow gap to open up
between the sheet piling and the canal side embankment.46 This gap allows water to
flow to the tip of the sheetpiling, replacing the active earth pressure on the canal side
with water pressure. Because water produces more lateral pressure than soil,
particularly clay, the presence of a water filled gap on the canal side of the embankment
would have a dramatic reduction on the factor of safety – that is, the hydrostatic
pressure, after the gap forms, is exerted over a much larger area of the floodwall and
makes it more prone to failure.

Additionally, a gap can provide a more direct route for water to seep under the wall and
cause an increase in pore water pressure. In this sense, the gap splits the embankment
in half and allows water to enter porous soil layers under the embankment without first
percolating through the canal side embankment.




Figure 31: Water percolating through permeable marsh layer, causing uplift on clay
layer above.

ILIT found that soil failure played an important role in the IHNC North Breach due to
water penetration that weakened the soil on the land side of the levee. “Sliding” is one

46
     ILIT Report Page 6-10.




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type of failure mentioned in the ILIT Report. If water is conducted through a permeable
layer in the soil, it can exert a buoyant force on the soil on the other side of the wall,
reducing the shear strength and potentially allowing underseepage-induced sliding to
occur. The only way to adequately protect against underseepage induced sliding is to
utilize a longer sheetpiling or other means of lateral support. This is because a failure
plane should only occur in the vicinity of the tip of the sheetpiling. A longer sheetpiling
would force the failure plane to be so deep that the overburden pressure would give the
soil tremendous shear strength. Additionally, a deep failure plane means a long failure
plane. The longer the failure plane, the more soil can be called upon to resist the
shearing force produced by the water on the canal side. Long sheetpiling is also more
likely to cut off those soil layers that allow water to seep under the wall.

The North Breach also appears to have occurred when a section of sheetpile just south
of the Florida Ave. Bridge ripped away from a section to the north. Apparently the
failure of the sheetpile at the North Breach occurred at the transition of the sheetpile
closest to the Florida Ave. Bridge, which was at a depth of -25.0 MSL, and the original
sheetpile which was only at a depth of -8.0 MSL. The deeper sheetpile closer to the
bridge was 34 feet long (vertical dimension) installed in 1980, whereas the 1966 original
sheetpile was only 20 feet long. Clearly the original design was inadequate to restrain
the hydrostatic load of the rising storm surge waters, especially in light of the very poor
soil conditions.

In this connection, the testimony of Mr. Christopher Weaver is relevant. Mr. Weaver
states that he woke between 0500 (5:00 AM) and 0530 (5:30 AM) on 29 August and
noticed that water had entered his house.47 When he looked out of a front window, he
saw water overtopping the floodwall. Mr. Weaver then climbed out a window, after
which he reported his house was inundated by a large rush of water.48 The rush of
water, which eventually washed Mr. Weaver’s and neighboring houses away, was the
result of water flooding the Lower Ninth Ward rapidly through the north breach.
However, it is clear that there was water in the vicinity of Florida Ave. before the surge
of water swept away Mr. Weaver’s house. This indicates that the north breach may
have failed in stages rather than all at once. Initially, the floodwall would not have
overturned completely, but rather rotated enough to substantially lower the crest height
and allow water to pour into the Lower Ninth Ward, potentially causing the landside
berm to scour away more and leading to the complete failure of the floodwall at this site.
This is consistent with Mr. Weaver’s description of overtopping at the north breach site.




47
     Weaver Deposition, Page 82 Line 12-18.
48
     Weaver Deposition, Page 89.




                                              53
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Figure 32: Clay embankment failure due to sliding induced by uplift.

In summary, based on review of the IPET, ILIT and Team Louisiana reports, together
with other information, the three principal mechanisms for the IHNC North Breach were:
(1) formation of a gap between the canal side levee and the sheet pile leading to added
hydraulic pressure; (2) inadequate soil foundation at the levee toe; and (3) failure of the
sheetpile at a transition point near the Florida Ave. Bridge.

IHNC South Breach

According to IPET, the principal mode of failure for the IHNC east floodwall failures was
overtopping induced scour. This mechanism involves the water level in the canal rising
to the floodwall’s crest height or higher. When the water level in the canal exceeds the
height of the wall, water pours over the floodwall and falls onto the landside
embankment of the levee. Water falling from the top of the floodwall exerts an impact
on the soil, which in turn experiences erosion, i.e. scours away.




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Figure 33: The failed floodwall in the south breach along Jourdan Ave. after Hurricane
Katrina. Note the concrete topped floodwall has toppled to the left, or inland, indicating
landside weakness caused by scouring.

The embankment of the IHNC levee was comprised of a clay-based material that had a
unit weight of approximately 104 pounds per cubic foot, and a cohesion that varied
greatly, but a value of approximately 500 pounds per square foot is representative of a
majority of the samples.49 As clays go, the type found at the IHNC was relatively soft
and light. This clay proved to be a more suitable material for construction of a levee
than that which was found at other sites.

Nevertheless, as was apparent from inspections of the IHNC floodwall after Katrina, the
embankment did not provide sufficient resistance to scour. All along the floodwall, a
trench was observed that ran the entire length from N. Claiborne Ave. to Florida Ave. In
places this trench was up to six feet deep. Pictures of the scour trench appear in
Figures 35 and 36. Calculations show that a four foot deep scour trench is about the
maximum that the floodwall could experience and still retain stability with respect to
overturning. The following figure shows failure by overtopping induced scour occurring
49
     IPET Boring Log 1U.




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to the IHNC floodwall at the south breach site. The soil stratum is from ILIT’s borings
near the south breach site.




Figure 34: Floodwall overturning due to overtopping induced scour.

Scouring is devastating to the stability of the wall because the resistance afforded by
the land side embankment diminishes by the square of the depth of scour. This means
that 2 feet of scour will decrease the factor of safety four times more than one foot of
scour. If too much soil is scoured away, the water pressure on the canal side of the
levee can cause the sheetpiling and concrete wall atop it to overturn.




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Figure 35: The scour trench on the land side of the IHNC floodwall, looking north from
the north end of the south breach.

Scouring becomes an even more critical issue if subsidence occurs. Subsidence
usually occurs at an irregular rate, meaning some portions of the floodwall will be lower
than others. A lower portion of a wall will allow a larger volume of water to pour over the
wall and for a longer duration than a higher portion of the wall. All other factors being
equal, this will cause a lower wall to experience more scour than a higher wall and thus
be more likely the point of initial failure by this mechanism.

In the case of the IHNC levee, scour from water overtopping the wall was exacerbated
by a cyclone fence located just in back of the wall on the land side of the levee. The




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cyclone fence acted to channel the overtopping water in a lateral direction, parallel to
the floodwall, further deepening the scour trench.




Figure 36: Looking down into the scour trench at the southern end of the south breach.

In order to mitigate the consequences of overtopping induced scour, there are two
principal features that could have helped.       The first is an armored landside
embankment. Placing a concrete or asphalt paved apron or riprap (armor stones) on
the landside could have protected the soil underneath from being washed away by the
falling water. This was recommended in the USACE Levee Design Manual, but was not
done.50 The second feature is a deeper sheetpile. By utilizing longer sheetpiling driven
deeper into the ground, the wall would have been able to remain upright even with a

50
     USACE Engineering Manual EM 1110-2-1913 titled The Design of Levees dated 30 April 2000.




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much greater amount of scour. Neither of these features was present, and thus the wall
did not survive the overtopping-induced scour that deprived it of support on the land
side.

ILIT concluded that soil failure due to water penetration under the sheetpile was a
second failure mechanism at work in the South Breach. In the case of the IHNC south
breach, there was a thin layer of marsh material located in the clay underneath the
embankment. There has been discussion in the IPET and ILIT reports as to the
significance of this layer. ILIT concluded that the south breach occurred because of
sliding due to an increase in pore water pressure. IPET responded by claiming that ILIT
used a permeability one would expect to find in sand for this marsh layer and that this
layer in reality had a much lower permeability and therefore the south breach site would
be less susceptible to failure by sliding.

These factors considered, the floodwall constructed to replace the one that failed during
Hurricane Katrina represents an improved design. The new wall is of the inverted “T”
design, which incorporates a wide footing that can reduce scour because the wide
footing of the “T” wall will prevent water that is overtopping the wall from eroding the soil
directly beneath the land side of the floodwall. Additionally, the new wall utilizes a
deeper sheetpiling than the ones used in the 1960s built wall. Lateral stability is further
enhanced by three rows of battered H-piles that support the footing.51

Comparing the new wall with the old wall, it becomes apparent how inadequate the old
wall was. The old I-wall, like many other floodwalls in the New Orleans area, was
completely unsuitable for protection of a populated area. It did not have an adequate
factor of safety in the first place, it was designed without considering various failure
criteria such as landside scour and underseepage induced sliding, it was designed
using an insufficient number of soil borings, it was built to an incorrect datum and it was
not maintained adequately, meaning that its subsidence had gone unnoticed.
Concerning settlement, this issue was known by the USACE and even mentioned in the
Levee Design Manual, with recommended fixes:

        Regarding settlement, the manual recommends overbuilding by as much
        as 10 to 15 percent for semi-compacted and uncompacted fill in the
        embankment.52

The conclusions regarding the inadequacies of the levee design were reached by every
investigation into the failure of the New Orleans hurricane protection system during
Katrina.
It must be noted that the two breaches along the IHNC were not the only causes of
flooding of the Lower Ninth Ward and St. Bernard Parish. According to the various

51
   Inner Harbor Navigation Canal project fact sheet from U.S. Army Corp of Engineers New Orleans District
http://www.mvn.usace.army.mil/HPS/pdf/Media%20Graphics/IHNC_Dec_2006.pdf.
52
   USACE Engineering Manual EM 1110-2-1913 titled The Design of Levees dated 30 April 2000.




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studies, the great majority of the breaching of the levees that surrounded this protected
area occurred at the levee fronting the MRGO and Lake Borgne. This levee was
constructed of an embankment made of sand and oyster shells, which is a completely
unsuitable material for construction of a levee because of its high permeability and
highly erodeable nature.

These levees fronting the MRGO were below design height and overtopped during
Hurricane Katrina. This overtopping occurred very early in the morning of 29 August.
The breaching in these inadequately designed levees was massive, with well over a
dozen individual breaches. The flow through these breaches flooded the marshlands in
the unpopulated area of the polder and ultimately overtopped the secondary levee.

In summary, based on review of the IPET, ILIT and Team Louisiana reports, together
with other information, the principal mechanisms of failure at the IHNC South Breach
were: (1) formation of a gap leading to increased hydrostatic pressure on the floodwall;
(2) overtopping and severe scouring of the landside soils leading to loss of soil support
for the floodwall; and (3) possibly, exacerbation due to hydraulic forces within the soil,
suggested by ILIT.

Other Floodwall Failures

The two breaches along the east bank of the IHNC were by no means the only
floodwalls to fail as a result of Hurricane Katrina. There were numerous significant
areas of the greater New Orleans area that were flooded as the result of floodwall
failures. These failures were indisputably unrelated to barges or barge impacts. These
locations include:

-Gentilly and the Upper Ninth Ward, which was flooded as the result of a floodwall
failure on the west side of the IHNC as well as the failure of the floodwall on the east
side of the London Ave. Canal.

-Lakeview, which was flooded because of floodwall failures on the London Ave. and 17th
Street Canals.

-New Orleans East, which was flooded because of numerous floodwall failures.

Other investigations attribute these failures to either overtopping induced scour or
underseepage induced sliding.




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Figure 37: Failed floodwall at the 17th Street Canal.




Figure 38: Failed floodwall at the London Ave. Canal.



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Figure 39: Failed floodwall on the west side of the IHNC.




Figure 40: Failed floodwall on the north shore of the GIWW/MRGO Channel, New
Orleans East.



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